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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 AT MARTINSBURG

  JONATHAN M. CRAWFORD,
                 Petitioner,

 v.                                                    CIVIL ACTION NO. 3:04CV23
                                                       CRIMINAL ACTION NO. 3:02CR35
                                                       (BROADWATER)

 UNITED STATES OF AMERICA,
                Respondent.

                   ORDER ADOPTING REPORT AND RECOMMENDATION

        On this day the above styled case came before the Court for consideration of the Report and

 Recommendation of Magistrate Judge James E. Seibert, dated June 3, 2005. The petitioner did not file

 objections to the Report. However, in the interests of justice and in accordance with 28 U.S.C. §

 636(b)(1), the Court has conducted a de novo review. After reviewing the above, the Court is of the

 opinion that the Magistrate Judge’s Report and Recommendation (Docket # 15) should be and is hereby

 ORDERED adopted.

         The Court further ORDERS that the petition of the petitioner be DENIED and DISMISSED

 WITH PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report and

 Recommendation. It is further ORDERED that petitioner’s Motion to Amend (Docket # 4) is DENIED

 based on the reasons set forth in the Magistrate Judge’s Report. Finally, it is ORDERED this action be

 and is hereby STRICKEN from the active docket of this Court.

        The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of

 record herein.

        DATED this 13TH day of October, 2005.
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